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                                                                                    FILED
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                             UNITED STATES DISTRICT COURT
                                                                                              CLERK
                                DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION




GREGORY A. WITTE,                                                      CIV. 17 - H ''5'

               Plaintiff,
                                                                 Complaint and
vs.                                                        Demand for Jury Trial

KEVIN BITKER TRUCKING,INC., a
Minnesota Corporation, and TRAVIS K.
BITKER,


               Defendants.




        COMES NOW the Plaintiff, by and through his attorneys of record, and for his
Complaint against the above-named Defendants states and alleges as follows:
                                            PARTIES


                                                 1.


        Plaintiff Gregory A. Witte (hereinafter "Plaintiff) is and, at all times relevant hereto, was
a resident of Brookings, South Dakota.

                                                 2.


        Upon information and belief. Defendant Kevin Bitker Trucking, Inc. (hereinafter
"Defendant Kevin Bitker Trucking") is a duly licensed Minnesota corporation with its principal
place of business in Bemidji, Minnesota.
                                                 3.


        Upon information and belief. Defendant Travis K. Bitker (hereinafter Defendant
Bitker") is and, at all times relevant hereto, was a resident of Bemidji, Minnesota. At all times
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